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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  July 13, 2021
                                                                               Nathan Ochsner, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

       TERRI PEPPER, et al,            § CIVIL ACTION NO.
                 Plaintiffs,           § 4:20-cv-02961
                                       §
                                       §
              vs.                      § JUDGE CHARLES ESKRIDGE
                                       §
                                       §
       BEST STORM LEADS                §
       CORPORATION,                    §
                 Defendant.            §

                                    ORDER
             The parties advised on January 13, 2021 that they intended
       to file a final notice of settlement and stipulation of dismissal
       within ninety days, or by April 13, 2021. They haven’t done so.
             The parties must file a final notice of settlement and
       stipulation of dismissal, or a status report explaining why further
       litigation is necessary. Such filing must be made by July 30, 2021.
             SO ORDERED.

           Signed on July 13, 2021, at Houston, Texas.




                                    Hon. Charles Eskridge
                                    United States District Judge
